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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION



TRACEY VILLALBA, an individual,                          CIVIL ACTION

                     Plaintiff,
                                                         Case No. 2:20-cv-106
v.
                                                         Judge: Sheri Polster Chappell
SHARECARE, INC., a Delaware corporation,
                                                         Mag. Judge: Nicholas P. Mizell
                     Defendant.



                  NOTICE OF PENDENCY OF RELATED ACTIONS


     In accordance with Local Rule 1.04(c), I certify that the instant action:


__X____ IS                  related to pending or closed civil or criminal case(s) previously filed

                            in this Court, or any other Federal or State court, or administrative

                            agency as indicated below:

                            Villalba v. Sharecare, Inc., Case No. 19-CA-4831, in the Circuit
                            Court of the Twentieth Judicial Circuit in and for Collier County,
                            Florida.


______ IS NOT               related to any pending or closed civil or criminal case(s) previously

                            filed in this Court, or any other Federal or State court, or

                            administrative agency.
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Dated: March 11, 2020                 s/ Benjamin H. Yormak
                                      Benjamin H. Yormak
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 11, 2020, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system. I further certify that I mailed the foregoing document and

the notice of electronic filing by first-class mail to the following non-CM/ECF participants: None.

                                      s/ Benjamin H. Yormak
                                      Benjamin H. Yormak
